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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
 In re:                              )    Chapter 11
 BOY SCOUTS OF AMERICA and           )
 DELAWARE BSA, LLC, et al.,          )    Case No. 20-10343 (LSS)
                                     )    (Jointly Administered)
              Debtors.               )
 KRAUSE & KINSMAN, WOLF, RIFKIN,     )
 SHAPIRO, SCHULMAN & RABKIN,         )
 LLP, JAMES HARRIS LAW, PLLC,        )
 ANDREOZZI & FOOTE, P.C., BABIN      )
 LAW, LLC, DAVIS BETHUNE &           )
 JONES,                              )
                                     )
                Appellants,          )    Civil Action No. 21-cv-1778 (RGA)
 v.                                  )
                                     )
 CENTURY INDEMNITY CO.,              )
 and VERUS, LLC,                     )
                                     )
               Appellees.            )

        RESPONSE OF APPELLANTS WITH RESPECT TO THE COURT’S
      SEPTEMBER 30, 2022 ORDER REQUESTING A POSITION STATEMENT


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                                                   and

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       This appeal arises from the Bankruptcy Court’s December 6, 2021 order requiring

independent contractor Verus, LLC (“Verus”) to turn over documents to Century Indemnity

Company (“Century”). Century had subpoenaed Verus for communications and other information

relating to the preparation of legal claims for sexual abuse survivors. Appellants are law firms that

assert attorney-client privilege and work product doctrine over those materials.

       Century has, by now, settled its liability. And on September 7, 2022, the Bankruptcy Court

entered over 500 pages of findings of fact and conclusions of law, confirming the Boy Scouts’

Chapter 11 reorganization plan. If Century would just release Verus, LLC from the subpoena at

issue, Century could moot this appeal.

       To date, however, Century has not sent over such a release. Technically, pursuant to the

parties’ settlement below, it isn’t required to do so until the Boy Scouts’ bankruptcy proceeding is

resolved. While the reorganization plan has been confirmed, various insurers have appealed that

confirmation.    See, e.g., Case No. 20-10343-LLS, Dkt. 10391 (Liberty Mutual Insurance

Company’s Notice of Appeal).

       Given that the subpoena at issue hasn’t been released, Appellants take the position that this

appeal is not (yet) moot for Article III purposes. That being said, Appellants do not view a prompt

determination of this appeal as crucial, and they would consent to a stay of the appeal while the

last hurdles are resolved. Soon enough, this appeal will (hopefully) be mooted by a full and final

resolution of the entire bankruptcy proceeding.




                                                [2]
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Dated: October 5, 2022             Respectfully Submitted,

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